Case 1:19-cv-00958-TWP-DLP Document 79-9 Filed 08/27/19 Page 1 of 1 PagelD #: 1046

STATE OF INDIANA ) IN THE DELAWARE CIRCUIT COURT NO. 2
) $8:
COUNTY OF DELAWARE ) CAUSE NUMBER: 18D02-9204-CF-46

STATE OF INDIANA
VS

WILLIAM BARNHOUSE

ORDER ON MOTION TO DISMISS
COMES NOW the State of Indiana, by counsel Eric M. Hoffman, and
having filed its Motion to Dismiss, and the Court, having read and examined said
Motion and having been duly advised in the premises, now finds that said Motion

should be and hereby is GRANTED.

IT 1S THEREFORE ORDERED ADJUDGED AND DECREED by the
Court that the above-entitled cause of action be DISMISSED without prejudice.

SO ORDERED this. day of __ May 16, 2017 , 2017.

Huong Dol

; | KIMBERLY S. DOWLING, JUDGE
DELAWARE CIRCUIT COURT NO. 2
DISTRIBUTION:
Eric Hoffman
Seema T. Saifee

Frances Watson

 
